Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 1 of 10           PageID #: 1



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Attorneys for Limitation Plaintiff
ATLANTIS SUBMARINES HAWAII, LLC

                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 In the Matter of                               CIVIL NO.
                                                (Admiralty)
 The Complaint of ATLANTIS
 SUBMARINES HAWAII, LLC as                      COMPLAINT FOR
 owner of the Motor Vessel named M/V            EXONERATION FROM OR
 DISCOVERY, O.N. 993947, for                    LIMITATION OF LIABILITY;
 Exoneration from or Limitation of              AFFIDAVIT OF MARK
 Liability.                                     KNUTSON ATTESTING TO THE
                                                FAIR MARKET VALUE OF M/V
                                                DISCOVERY, O.N. 993947;
                                                EXHIBIT A


                    COMPLAINT FOR EXONERATION FROM
                       OR LIMITATION OF LIABILITY

             Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC, as

owner pro hac vice of M/V DISCOVERY, O.N. 993947, alleges as follows:

             1.      This is an action for exoneration from or limitation of liability
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 2 of 10         PageID #: 2



pursuant to 46 U.S.C. §§30501, et seq., an admiralty and maritime claim within the

meaning of Rule F of the Supplemental Rules for Admiralty of Maritime Claims and

Asset Forfeiture Actions of the Federal Rules of Civil Procedure, and within the

admiralty and maritime jurisdiction of the Court pursuant to 28 U.S.C. §1333 and

Rule 9(h) of the Federal Rules of Civil Procedure.

             2.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

is a Delaware limited liability company.

             3.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

was on or about November 11, 2019, and is presently, owner pro hac vice and

operator of M/V DISCOVERY, O.N. 993947, within the meaning of 46 U.S.C.

§§30501, et seq.

             4.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

has been in exclusive possession of and has had exclusive control over M/V

DISCOVERY, O.N. 993947, since August 1, 1995, and has been solely responsible

for equipping, fueling, supplying, provisioning, repairing, maintaining, victualing,

manning, navigating, and operating M/V DISCOVERY, O.N. 993947, since that

date and at all material times hereto.

             5.     At all times material herein, the home port of M/V

DISCOVERY, O.N. 993947, was Honolulu, Hawaii, which is within the jurisdiction

of this Court.

             6.     At all times material herein, M/V DISCOVERY, O.N. 993947,

                                           2
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 3 of 10           PageID #: 3



was a vessel in the passenger excursion trade, 76 feet in length, and documented by

the U.S. Coast Guard.

             7.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

had at all times material herein exercised due diligence to make M/V DISCOVERY,

O.N. 993947, seaworthy in all respects, and the vessel was, at all times material

herein, staunch, tight, and strong, fully, and properly manned, equipped, supplied,

and navigated, and was in all respects seaworthy and fit for the service in which the

vessel was engaged.

             8.     On or about November 11, 2019, M/V DISCOVERY, O.N.

993947, was on a passenger excursion voyage in Honolulu, Hawaii, operated by

Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC.

             9.     ANDREW KINGMAN alleges that while employed by

Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC as a U.S. Coast

Guard licensed Master and working aboard M/V DISCOVERY, O.N. 993947, in

that capacity on or about November 11, 2019, he was injured while making repairs

to M/V DISCOVERY, O.N. 993947 (“Accident”).

             10.    On May 11, 2021, ANDREW KINGMAN filed a personal injury

action in connection with the Accident in the Circuit Court of the First Circuit, State

of Hawaii, styled as Andrew Kingman, Individually v. Atlantis Submarines Hawaii,

LLC, et al., Civil No. 1CCV-XX-XXXXXXX (JMT).

             11.    The Accident and any injuries, damages, and/or losses resulting

                                          3
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 4 of 10      PageID #: 4



therefrom, or otherwise arising out of the aforementioned voyage, were neither

caused nor contributed to, by any fault, negligence, or neglect on the part of

Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC nor anyone for

whose acts Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC are or

may be responsible.

            12.   The Accident and any injuries, damages or losses resulting

therefrom, or otherwise arising out of the aforementioned voyage, were occasioned

and incurred without the privity or knowledge of Limitation Plaintiff ATLANTIS

SUBMARINES HAWAII, LLC or anyone whose privity or knowledge is or may be

imputable to Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC.

            13.   M/V DISCOVERY, O.N. 993947, was not damaged, lost, or

abandoned as the result of the Accident. M/V DISCOVERY, O.N. 993947, remains

in the possession of Limitation Plaintiff ATLANTIS SUBMARINES HAWAII,

LLC.

            14.   As set forth in the Affidavit of Mark Knutson Attesting to the

Fair Market Value of M/V DISCOVERY, O.N. 993947, the value of the interest of

Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC in M/V

DISCOVERY, O.N. 993947, at the end of the voyage on or about November 11,

2019, was SEVEN HUNDRED AND FIFTY THOUSAND AND NO/00

DOLLARS ($750,000.00).

            15.   There was no freight aboard M/V DISCOVERY, O.N. 993947,

                                       4
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 5 of 10           PageID #: 5



nor was any freight earned or pending at the end of the voyage on or about November

11, 2019.

             16.     There are no liens, claims, or demands upon M/V DISCOVERY,

O.N. 993947, prior to or paramount to those which may have occurred by reason of

the matter herein described.

             17.     Therefore, the total value of the interest of Limitation Plaintiff

ATLANTIS SUBMARINES HAWAII, LLC in M/V DISCOVERY, O.N. 993947,

at the end of the voyage on or about November 11, 2019, did not exceed SEVEN

HUNDRED AND FIFTY THOUSAND AND NO/00 DOLLARS ($750,000.00).

That value is, or may be, less than the amount(s) of the claim(s) that Limitation

Plaintiff ATLANTIS SUBMARINES HAWAII, LLC anticipates will be asserted in

connection with the Accident.

             18.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

alleges, on information and belief, that the Accident, and any and all injuries or

damages resulting therefrom, were solely and proximately caused by the fault and/or

neglect of others.

             19.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

alleges, on information and belief, that any claimants were themselves negligent in

and about the matters alleged in any related claims or actions, and that said

negligence contributed directly and proximately to the occurrence of the Accident

and injuries and/or damages, if any, that may be alleged.

                                           5
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 6 of 10              PageID #: 6



             20.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

alleges that it has a valid, absolute defense to any and all alleged liability arising out

of the Accident, on facts and under maritime and admiralty law.

             21.     Limitation Plaintiff ATLANTIS SUBMARINES HAWAII,

LLC is informed and believes that no arrest, attachment, or complaint has been filed

against M/V DISCOVERY, O.N. 993947.

             22.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

is informed and believes that, at the present time, no suits or actions, other than the

action identified above, have been commenced against it for personal injuries or

other damages arising out of the Accident.

             23.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

does not know whether other claims may be made and/or that suits or actions may

be commenced against it by persons or entities claiming to have sustained injuries

or damages as a result of the Accident or the potential amount of any such claim(s).

             24.    Six months have not elapsed since Limitation Plaintiff

ATLANTIS SUBMARINES HAWAII, LLC received any written notice of any

claim allegedly arising from the Accident.

             25.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

hereby claims the benefit of exoneration from or limitation of liability provided for

under 46 U.S.C. §§30501, et seq., Rule F of the Supplemental Rules for Admiralty

of Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil

                                            6
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 7 of 10           PageID #: 7



Procedure, inclusive, and all acts amendatory and supplementary, whether named

herein or not. Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC also

claims the benefit of all statutes and acts of the Congress of the United States,

whether named herein or not, granting or providing for exoneration from or

limitation of liability to vessel owners.

             26.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

alleges that it should be exonerated from liability arising from the Accident and, if

not exonerated, that any liability arising from the Accident be limited to the value of

its interest in M/V DISCOVERY, O.N. 993947, at the end of the voyage on or about

November 11, 2019.

             27.    Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC

will file an ad interim stipulation of value, with sufficient surety, in the amount of

SEVEN HUNDRED AND FIFTY THOUSAND AND NO/00 DOLLARS

($750,000.00), the value of its interest in M/V DISCOVERY, O.N. 993947, at the

end of the voyage on or about November 11, 2019, together with interest at the rate

required by Rule F(1) of the Supplemental Rules for Admiralty of Maritime Claims

and Asset Forfeiture Actions of the Federal Rules of Civil Procedure.

             28.    All and singular, the premises of this Complaint are true and

correct and within the admiralty and maritime jurisdiction of the United States and

of this Honorable Court.

             WHEREFORE, Limitation Plaintiff ATLANTIS SUBMARINES

                                            7
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 8 of 10           PageID #: 8



HAWAII, LLC prays:

             1.     That this Court accept the Affidavit of Mark Knutson Attesting

to the Fair Market Value of M/V DISCOVERY, O.N. 993947, attached hereto,

attesting to the fair market value of Limitation Plaintiff ATLANTIS SUBMARINES

HAWAII, LLC’s pro hac vice ownership interest in M/V DISCOVERY, O.N.

993947, at the end the voyage in which the vessel was engaged on or about

November 11, 2019, at the time of the Accident.

             2.     That this Court enter an order to all persons, concerns, or firms

making a claim for any injuries, damages, and/or losses resulting from the Accident,

or otherwise arising out of the related voyage, or otherwise asserting any claim with

respect to which Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC is

entitled to seek exoneration from, or limitation of liability herein, admonishing them

to appear and file their respective claim(s) with the Clerk of this Court and to serve

on or mail copies thereof to the attorneys for Limitation Plaintiff ATLANTIS

SUBMARINES HAWAII, LLC herein named, on or before the date to be specified

in the motion seeking issuance of said order, and to make due proof of their

respective claims, and further to file their respective answer(s), if any, to the

allegations of this Complaint on or before the date to be specified in said motion, all

as provided by law and by the Federal Rules of Civil Procedure as made applicable

to admiralty and maritime cases;

             3.     That notice of said order, in the form and manner prescribed by

                                          8
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 9 of 10          PageID #: 9



Rule F(4) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions of the Federal Rules of Civil Procedure as made applicable to

admiralty and maritime cases, be published in such newspaper(s) as the Court may

direct or as may otherwise be specified by the Rules of this Court for legal

publication once a week for at least four (4) consecutive weeks prior to the date

specified in said order for the filing of claims herein;

               4.   That this Court issue an injunction restraining the further

prosecution of any and all suits, actions, and/or proceedings, which may have

already commenced against Limitation Plaintiff ATLANTIS SUBMARINES

HAWAII, LLC and/or their agents, servants, and/or employees in any Court

whatsoever and/or to recover damages for any and all injuries, damages, and/or

losses resulting from the Accident, or otherwise arising out of the related voyage,

and restraining the commencement or prosecution thereafter of any suit, action, or

legal proceeding against Limitation Plaintiff ATLANTIS SUBMARINES HAWAII,

LLC their agents, servants, and/or employees and/or M/V DISCOVERY, O.N.

993947, with respect to any claim(s) resulting from the Accident, or otherwise

arising out of the aforementioned voyage, or otherwise subject to limitation in these

proceedings;

               5.   That the Court in this proceeding adjudge that Limitation

Plaintiff ATLANTIS SUBMARINES HAWAII, LLC is not liable to any extent for

any injuries, damages, and/or losses resulting from the Accident, or otherwise arising

                                           9
Case 1:21-cv-00447-JAO-RT Document 1 Filed 11/10/21 Page 10 of 10        PageID #: 10



 out of the related voyage, or if Limitation Plaintiff ATLANTIS SUBMARINES

 HAWAII, LLC shall be adjudged liable in any respect, then that its liability be

 limited to value of its ownership interest in M/V DISCOVERY, O.N. 993947, at the

 end the voyage in which the vessel was engaged on or about November 11, 2019, at

 the time of the Accident, and that a decree may thereupon be entered discharging

 Limitation Plaintiff ATLANTIS SUBMARINES HAWAII, LLC; and

             6.     That Limitation Plaintiff ATLANTIS SUBMARINES HAWAII,

 LLC be granted such other and further relief as this Court deems just and proper.

             DATED: Honolulu, Hawaii, November 10, 2021.



                                       /s/ Normand R. Lezy
                                       NORMAND R. LEZY
                                       MICHAEL J. NAKANO
                                       SHAWN L.M. BENTON
                                       Attorneys for Limitation Plaintiff
                                       ATLANTIS SUBMARINES HAWAII, LLC




                                         10
